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17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20                                      )         Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC., a Delaware  )         PLAINTIFFS’ REPLY IN SUPPORT OF
22    corporation,                      )         MOTION TO STRIKE THE
                                        )         SECOND SUPPLEMENTAL REBUTTAL
23                    Plaintiffs,       )         EXPERT REPORT OF GREGORY A.
                                        )         PINSONNEAULT
24
             v.                         )
25                                      )           Date: April 10, 2025
      NSO GROUP TECHNOLOGIES LIMITED )              Time: 2:00 p.m.
26    and Q CYBER TECHNOLOGIES LIMITED, )           Ctrm: 3
                                        )           Judge: Hon. Phyllis J. Hamilton
27                    Defendants.       )           Action Filed: October 29, 2019
                                        )
28
                                 [PUBLIC REDACTED VERSION]
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2           NSO has long known that its Pegasus spyware accessed WhatsApp’s servers from 2018 until
 3   at least 2020 and not—as it told the Court—“[f]or approximately 40 days in Spring 2019.” Dkt. No.
 4   105 at 1. Once discovery revealed the extent of NSO’s misconduct, Plaintiffs put
 5

 6                     For its part, NSO made the tactical decision to have their damages expert (Gregory
 7   A. Pinsonneault) offer                                                                                     .
 8   Through Mr. Pinsonneault,
 9                                              . After Plaintiffs deposed Mr. Pinsonneault, NSO changed
10   its position on that issue. In the November 27 Pinsonneault Report, which NSO served after Mr.
11   Pinsonneault’s deposition,
12                       . The Federal Rules of Civil Procedure and the Court’s schedule do not permit
13   that kind of shifting-sands approach to litigation.
14           NSO cannot—and does not—dispute that the November 27 Pinsonneault Report came after
15   the applicable deadlines for rebuttal reports. Its only argument against striking the report is to con-
16   tend that it is a proper supplement under Rule 26(e). That argument ignores the governing standard
17   for supplemental reports in the Ninth Circuit: an expert can only supplement an incomplete report in
18   order to fill the interstices based on information that was not available at the time of the initial report.
19   Luke v. Fam. Care & Urgent Med. Clinics, 323 F. App’x 496, 500 (9th Cir. 2009). Nearly every
20   district court in the Ninth Circuit faced with a supplemental expert report—including this Court—
21   applies this standard, which counsels strongly against allowing purported supplements (like Mr. Pin-
22   sonneault’s) that do not turn on later-arising evidence. Yet NSO fails to cite Luke or its progeny even
23   once.
24           NSO disregards the Luke standard because it dooms NSO’s argument. The November 27
25   Pinsonneault Report
26                                              . NSO maintains that Mr. Pinsonneault’s previous reports
27   were
28                                                                                                              .
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 1   According to NSO, it submitted the November 27 Pinsonneault Report
 2         Dkt. No. 523 at 7. That is not a proper basis for supplementation under Rule 26(e) or the cases
 3   interpreting it. The apparent truth is that the November 27 Pinsonneault Report
 4

 5                                             . That also is not a proper basis to re-open expert discovery
 6   and inject new opinions. NSO must live with its decision.
 7          NSO cannot meet its burden of showing that its belated service of the November 27 Pinson-
 8   neault Report was either substantially justified or harmless to Plaintiffs. NSO suggests that Plaintiffs
 9   should have taken Mr. Pinsonneault’s deposition a second time after receiving that post-deposition
10   “supplement.” This would have placed an unreasonable burden on Plaintiffs given the length of Mr.
11   Pinsonneault’s report and the Court’s schedule, especially with the many competing case-related pri-
12   orities just months before trial (including the depositions of the main technical witnesses).
13          The November 27 Pinsonneault Report should therefore be stricken.
14                                               ARGUMENT
15   I. The November 27 Pinsonneault Report Is Not a Proper Supplemental Report
16          NSO argues that the November 27 Pinsonneault Report was a proper supplemental report
17   under Rule 26. It was not. The Ninth Circuit allows an expert to update an otherwise accurate expert
18   report only in response to new information, not in response to a party second-guessing their own
19   damages strategy.
20      A. NSO Admits That the November 27 Pinsonneault Report Failed to Comply with the
21          Case Schedule
22          NSO served the November 27 Pinsonneault Report more than two months after the deadline
23   for rebuttal expert reports and more than two months after Plaintiffs served the Trexler Supplemental
24   Report. NSO does not argue that the November 27 Pinsonneault Report met the Court’s rebuttal
25   expert report disclosure deadline. Nor does NSO argue that the November 27 Pinsonneault Report
26   was timely under the rule allowing a rebuttal within 30 days after an affirmative report. See Fed. R.
27   Civ. P. 26(a)(2)(D)(ii) (allowing “30 days after the other party’s disclosure” to provide rebuttal
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 1   evidence “on the same subject matter identified by another party”). 1 Given these facts, the November
 2   27 Pinsonneault Report must be struck unless it is a proper supplemental disclosure under Rule 26(e).
 3   See Dkt. No. 523 at 8 (citing Fed. R. Civ. P. 26(e)(1)(A)). As explained below, it is not.
 4         B. The November 27 Pinsonneault Report Did Not Fill a Gap in Mr. Pinsonneault’s
 5            Previous Reports Based on New Information
 6            NSO’s opposition brief entirely ignores the standard governing supplemental expert reports
 7   in the Ninth Circuit, which Plaintiffs cited on the first page of their motion to strike. In Luke, the
 8   Ninth Circuit stated that “Rule 26(e) creates a ‘duty to supplement,’ not a right. Nor does Rule 26(e)
 9   create a loophole through which a party who submits partial expert witness disclosures, or who
10   wishes to revise her disclosures in light of her opponent’s challenges to the analysis and conclusions
11   therein, can add to them to her advantage after the court’s deadline for doing so has passed.” 323 F.
12   App’x at 500 (quoting Fed. R. Civ. P. 26(e)(2)). It then held that “[s]upplementation under the Rules
13   means correcting inaccuracies, or filling the interstices of an incomplete report based on information
14   that was not available at the time of the initial disclosure.’” Id. (alteration in original) (quoting Keener
15   v. United States, 181 F.R.D. 639, 640 (D. Mont. 1998)). In Luke, the Ninth Circuit upheld a district
16   court’s exclusion of an untimely declaration from the plaintiff’s expert witness that “impermissibly
17   attempted to fix the weakness” in the plaintiff’s case. Id.
18            Though Luke was an unpublished opinion, it has become the touchstone of the analysis for
19   courts in this Circuit. See, e.g., Munchkin, Inc. v. Playtex Prods., LLC, 600 F. App’x 537, 538 (9th
20   Cir. 2015) (citing Luke in ruling that expert report was “not a mere supplementation within the mean-
21   ing of the Rules”); Cambridge Lane, LLC v. J-M Mfg. Co., 2024 WL 4101940, at *10 (C.D. Cal.
22   Aug. 2, 2024) (citing Luke in excluding plaintiff’s expert reports served after expert depositions that
23   responded to defendant’s arguments); Jean Royère SAS v. Edition Mod., 2023 WL 9019058, at *2
24   (C.D. Cal. Dec. 11, 2023) (citing Luke in excluding expert reports where “the revisions are clearly
25   an attempt to strengthen [expert’s] opinions, and are, as such, inappropriate supplementation); In re
26   Qualcomm Antitrust Litig., 2023 WL 7393012, at *3 (N.D. Cal. Nov. 7, 2023) (citing Luke in
27
     1
         The November 27 Pinsonneault Report came 67 days after the report it purported to rebut.
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 1   excluding supplemental report filed after deadline where “all information at issue now was in the
 2   record”); Shahbaz v. Johnson & Johnson, 2020 WL 5894590, at *7 (C.D. Cal. July 31, 2020) (citing
 3   Luke in excluding plaintiffs’ “late expert report” served in response to purported “new issues” that
 4   defendants failed to identify); Chinitz v. Intero Real Est. Servs., 2020 WL 7391299, at *3–4 (N.D.
 5   Cal. July 22, 2020) (citing Luke in excluding expert reply declaration purporting to supplement report
 6   by addressing “challenges to the [expert’s] conclusions”). In Cambridge Lane, the court not only
 7   relied on Luke to strike an untimely expert report, but also commented on its persuasive value, noting
 8   that it has been cited approvingly by “several other courts within this district – and, for what it is
 9   worth, many others throughout this circuit and around the country,” as well as “two subsequent Ninth
10   Circuit panels . . . one of which was a published opinion.” 2024 WL 4101940, at *7 n.6.
11          Similarly, this Court applied the analysis in Luke when denying a purported supplemental
12   report served after the deadline for expert reports. In Rovid v. Graco Children’s Products Inc., plain-
13   tiffs submitted an admittedly untimely expert report “prepared and submitted because defendants’
14   expert ‘challenged the completeness, accuracy, and reliability of the measurements reported in’
15   [plaintiffs’ expert]’s initial and rebuttal reports.” 2018 WL 5906075, at *11 (N.D. Cal. Nov. 9, 2018)
16   (citation omitted). After quoting extensively from Luke, this Court concluded that Luke’s logic “ap-
17   plies here.” Id. In Rovid, the proposed supplement did not “correct[] inaccuracies” and the expert’s
18   earlier report was not “incomplete” because of “newly discovered information.” Id. Hence the sup-
19   plemental report was improper under Rule 26(e), and the Court struck it. Id.
20          Another court in this District invoked Luke to strike a damages expert’s report in a similar
21   posture. See Plexxikon Inc. v. Novartis Pharms. Corp., 2021 WL 2577536, at *4 (N.D. Cal. June 23,
22   2021). In Plexxikon, the damages expert originally calculated damages through the end of 2018, and
23   admitted at his deposition that he did not calculate any damages after 2018. Id. at *2–4. After the
24   defendant moved to exclude the plaintiff from presenting evidence or argument regarding post-2018
25   damages, the expert submitted an additional report calculating damages for 2019. Id. at *3. But the
26   court rejected the argument that the expert’s belated damages report was merely a “recalculat[ion]”
27   because it “did not simply update the damages calculation based on amended data, but expanded the
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 1   application of [the expert]’s damages model to the circumstances existing in 2019.” Id. at *5. For
 2   this reason, the court struck the damages report. Id. at *7.
 3       C. Experts Cannot Submit Supplemental Reports to Update Calculations Unless There
 4           Was Error
 5           Not only do NSO’s leading cases ignore the Luke standard, but they fit comfortably within
 6   the two requirements of supplementation under Rule 26(e): responding to new information or cor-
 7   recting errors. In Charter School Solutions v. GuideOne Mutual Insurance Co., the supplemental
 8   expert report did indeed “plainly supplement” the initial report because it corrected errors in the initial
 9   report. 2019 WL 5258055, at *3 (W.D. Tex. June 28, 2019) (explaining that the supplemental report
10   “corrected [the expert’s] calculation of the cost to repair the roof by removing certain taxes he had
11   inadvertently added, which were inapplicable because [p]laintiff is a non-profit”). The same fact
12   pattern arose in Medtronic Vascular, Inc. v. Abbott Cardiovascular Systems, Inc., where the expert
13   was deposed, realized his “honest mistakes,” and “merely correct[ed] numerical errors.” 2008 WL
14   4601038, at *2 (N.D. Cal. Oct. 15, 2008). The supplemental reports in Charter School Solutions and
15   Medtronic Vascular were proper because supplemental reports must be issued to correct material
16   errors under Rule 26(e). Yet Mr. Pinsonneault                                                 . The
17                in the November 27 Pinsonneault Report were instead
18                       once NSO appreciated the risks of this strategy after Mr. Pinsonneault’s deposi-
19   tion.
20           Even in cases departing from the Luke standard, which governs here, courts rarely allow sup-
21   plementation when the opposing party has established an expert’s conscious decision not to offer an
22   opinion, as opposed to more general criticism. In Miller v. Pfizer, Inc., the court allowed a supple-
23   mental report in response to “assertions by opposing experts that there are gaps in the expert’s chain
24   of reasoning.” 356 F.3d 1326, 1332 (10th Cir. 2004); see also Confederated Tribes of Siletz Indians
25   of Or. v. Weyerhaeuser Co., 2003 WL 23715981, at *2 (D. Or. Jan. 21, 2003) (allowing supplemental
26   report in response to motion to strike). Here, the November 27 Pinsonneault Report
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 1                                                                                     . It was in response
 2   to a gap in NSO’s case.
 3         D. An Expert’s Reservation of Rights Is Only Effective if It Complies with the
 4            Federal Rules of Civil Procedure
 5            Mr. Pinsonneault’s                                                does not exempt him from
 6   the normal rules governing supplemental expert reports. In all the cases cited by NSO, the expert
 7   reserved the right to update the expert report in response to new documents. See, e.g., Wechsler v.
 8   Macke Int’l Trade, Inc., 221 F.R.D. 619, 623 (C.D. Cal. 2004) (reserving rights to update “if neces-
 9   sary, if and when documents [from defendants] . . . are made available to me.”); Pickens v. United
10   States, 750 F. Supp. 2d 1243, 1251 (D. Or. 2010) (reserving rights “pursuant to receipt of new mate-
11   rial) (alteration in original). These reservations of rights align with Luke’s interpretation of Rule
12   26(e), which allows a supplemental expert report based on information that was not available at the
13   time of the initial expert report. By contrast, Mr. Pinsonneault’s purported reservation of rights is
14   not contingent on new information becoming available. By reserving the right to update his report if
15   the Court agreed with Plaintiffs on the proper time period to measure NSO’s unlawful profits, Mr.
16   Pinsonneault improperly attempted to expand his rights to supplement under the Federal Rules.
17   II.      NSO’s Failure to Comply with Rule 26(e) Was Not Justified or Harmless
18            Plaintiffs’ motion to strike established that NSO cannot meet its burden of showing that its
19   failure to comply with Rule 26(e) was “substantially justified” or “harmless.” Fed. R. Civ. P.
20   37(c)(1); see Dkt. No. 490-3 at 9–10. Without the November 27 Pinsonneault Report, NSO
21

22          . Plaintiffs’ damages expert—who
23                         —would thus have the only word on the matter, which will be of central im-
24   portance at the forthcoming damages-only trial.
25         A. Plaintiffs Face Prejudice from the November 27 Pinsonneault Report
26            To avoid the automatic sanction of exclusion, NSO must prove that their violation of Rule
27   26(e) was substantially justified or is harmless. See Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
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 1   259 F.3d 1101, 1006 (9th Cir. 2001). NSO cannot meet that burden. As courts have recognized,
 2   expert reports submitted after an expert was deposed give rise to prejudice. See Medtronic Vascular,
 3   2008 WL 4601038, at *3 (finding “no real dispute that [recipient] suffered some prejudice as a result
 4   of [late] submission of the supplemental report”). Here, because NSO submitted the November 27
 5   Pinsonneault Report after Mr. Pinsonneault’s deposition, it prejudiced Plaintiffs.
 6           The November 27 Pinsonneault Report also prejudiced Plaintiffs by injecting
 7            into the record just days before the close of expert discovery, and after Plaintiffs had suc-
 8   cessfully established a one-sided record on a central issue for the jury to decide. At the conclusion
 9   of Mr. Pinsonneault’s deposition on November 20, 2024, the record was clear:
10                                                                                               . That day,
11   Mr. Pinsonneault testified under oath
12

13   See Block Decl. Ex. A (Pinsonneault Dep. Tr.) at 155:5–6. The jury would therefore only hear a
14   single expert opinion                                                       : the opinion of Plaintiffs’
15   expert. NSO’s attempt to avoid this outcome through a belated expert report undoes Plaintiffs’ care-
16   ful lawyering, and prejudices Plaintiffs’ case at trial.
17           Indeed, NSO’s decision to have Mr. Pinsonneault submit a belated expert report to plug holes
18   in NSO’s trial presentation constitutes sufficient prejudice. In Plexxikon, the court found that preju-
19   dice from an “expanded damages model” that calculates damages for additional years was “readily
20   apparent,” especially when the party serving the belated report “only belatedly realized its oversight
21   in failing to consider damages” for later years. 2021 WL 2577536, at *6. Even one of the pre-Luke
22   cases relied upon by NSO acknowledges that courts have struck expert reports where the proffering
23   party “belatedly plug[s] those holes with a new expert opinion.” Confederated Tribes of Siletz Indi-
24   ans of Or., 2003 WL 23715981, at *2; see also Hambleton Bros. Lumber Co. v. Balkin Enters., Inc.,
25   397 F.3d 1217, 1225 (9th Cir. 2005) (describing “sham affidavit” rule where party attempts to man-
26   ufacture “‘an issue of fact by an affidavit contradicting his prior deposition testimony’”) (quoting
27   Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th Cir. 1991)).
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 1          NSO cannot take shelter by arguing that the November 27 Pinsonneault Report was served
 2   sufficiently in advance of trial to blunt any prejudice. The prejudice from the November 27 Pinson-
 3   neault Report flows not from the fact that it was served just over three months before trial was then
 4   slated to begin,
 5                                                                .
 6          Nothing in Mr. Pinsonneault’s report reduced the surprise and associated prejudice. The No-
 7   vember 7 Pinsonneault Report
 8                                                                       Dkt. No. 490-4, Ex. B ¶ 24. As
 9   described above, this reservation of rights exceeds the limits of the Federal Rules. What’s more, the
10   Court has not yet been asked to make such a determination—and thus Mr. Pinsonneault did not sup-
11   plement his report in response to any such determination. NSO’s decision to backtrack on its stated
12   intention regarding supplementation adds an additional layer to Plaintiffs’ surprise. Far from waiting
13   for judicial guidance, NSO’s counsel recognized the risk of not having a fallback position if the jury
14   rejected NSO’s now-debunked telling of the facts.
15      B. The November 27 Pinsonneault Report Harmed Plaintiffs, and Such Harm Could Not
16          Be Cured with a Subsequent Deposition
17          NSO cannot prove that the November 27 Pinsonneault Report is harmless because responding
18   to it would force Plaintiffs to unnecessarily expend additional resources. Mr. Pinsonneault was de-
19   posed on November 20, 2024, which proceeded as part of a carefully negotiated schedule. Plaintiffs
20   and their experts underwent significant efforts to prepare for Mr. Pinsonneault’s deposition, including
21   analyzing Mr. Pinsonneault’s two previous reports and conducting his deposition. NSO suggests that
22   Plaintiffs could have simply deposed Mr. Pinsonneault after receiving the November 27 Pinsonneault
23   Report, but that proposal would involve Plaintiffs redoubling the efforts they recently made to take
24   Mr. Pinsonneault’s deposition and expending significant resources to do so. Put in NSO’s own
25   words, “[s]uch imposition of litigation expenses incurred in connection with an expert’s shifting
26   opinions can constitute prejudice sufficient to warrant striking a proposed supplemental expert re-
27   port.” Dkt. No. 487-2 at 9 (citing to Rovid, 2018 WL 5906075, at *10).
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     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY PIN-
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 1          NSO’s suggestion that Plaintiffs’ harm was easily curable ignores the practical difficulty of
 2   further deposing Mr. Pinsonneault. NSO served its latest report from Mr. Pinsonneault on the night
 3   of November 27, 2024, the eve of Thanksgiving. Even after Plaintiffs’ counsel analyzed the
 4   report over the Thanksgiving holiday, just 11 business days remained before the close of expert dis-
 5   covery on December 16, 2024. The parties had already scheduled the depositions of the key technical
 6   expert witnesses—the two most important expert witnesses in the case—over these 11 business days,
 7   and were otherwise preparing for trial. As this Court recognized in Rovid, the offer to have an expert
 8   sit for a deposition ignores all “other prejudice,” including the need to file a motion to strike the
 9   belated expert report (as well as oppose NSO’s motion to strike, which NSO only raised after Plain-
10   tiffs’ indicated they would move to strike the November 27 Pinsonneault Report). “Those litigation
11   activity expenses constitute sufficient prejudice.” Rovid, 2018 WL 5906075, at *12. Whether or not
12   it was deliberate, the timing of NSO’s service of the November 27 Pinsonneault Report allowed them
13   to capitalize on the compressed schedule—which itself was a result of their request to extend the fact
14   discovery period and move the trial date.
15          More fundamentally, NSO’s late change in its damages strategy is unfair in a way that addi-
16   tional depositions or other discovery cannot address, even if it did not come at a busy time in the
17   case. Parties are entitled to rely on the Court’s schedule and adversaries’ strategic decisions in pre-
18   paring a case for trial. Plaintiffs did so here. After analyzing Mr. Pinsonneault’s reports, Plaintiffs
19   prepared for and took his deposition. At that deposition, Plaintiffs elicited important concessions,
20   which formed a crucial part of the pretrial record and helped to narrow the scope of evidence and
21   issues for the jury to address. Allowing NSO to serve an additional expert report would allow it to
22   inject new issues into the case without regard for the case schedule or Federal Rules. See Shahbaz,
23   2020 WL 5894590, at *7 (striking a supplemental report that caused a litigation disadvantage because
24   it improperly attempted to rebut defendants’ legal argument); see also Neothermia Corp. v. Rubicor
25   Med., Inc., 345 F. Supp. 2d 1042, 1045 (N.D. Cal. 2004) (noting similarities between Rule 26(e) and
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     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY PIN-
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 1   patent rules designed to prevent “shifting sands” approach to claim construction). 2 The Court should
 2   not allow NSO to use such tactics.
 3                                             CONCLUSION
 4          For the foregoing reasons, Plaintiffs respectfully request that the Court strike the November
 5   27 Report of Gregory A. Pinsonneault.
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         Should the Court not strike the November 27 Pinsonneault Report, it should allow Plaintiffs to
         depose Mr. Pinsonneault again, at a time of Plaintiffs’ choosing, before trial. See Medtronic
26       Vascular, 2008 WL 4601038, at *3 (ordering offending party “to bear the cost of deposition, plus
         the [opposing side’s] reasonable costs (including attorney’s fees) of preparing for and taking this
27       continued deposition” after finding prejudice due to a supplemental report’s submission after the
         expert was already deposed).
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 1    Dated: January 23, 2025                      Respectfully Submitted,

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